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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK


 STEVE SANDS,
                                                                No.: 1:17-cv-09215 (LAK)
                                               Plaintiff,
                                                                NOTICE OF MOTION
                        -against-

 BAUER MEDIA GROUP USA, LLC,

                                             Defendant.




       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 16, 26, and 37, and upon the

accompanying memorandum of law, and the Declaration of Terence P. Keegan, Bauer Media

Group USA, LLC moves this Court, before the Honorable Lewis A. Kaplan at the United States

Courthouse for the Southern District of New York, 500 Pearl Street, New York, NY, to 1)

dismiss Plaintiff Steve Sands' ("Sands") complaint, or 2a) in the alternative, to strike portions of

Sands' testimony and evidence in support of summary judgment — and/or 2b) for a bond as a

security for costs and fees under Local Civil Rule 54.2, and such other relief as the Court deems

just and proper.

DATED: New York, New York                     MILLER KORZENIK SOMMERS RAYMAN LLP
       November 2, 2018

                                              By: /s/ Terence P. Keegan
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